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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

VALLEY FORGE INSURANCE COMPANY,                         )
                    Plaintiff,                          )
               v.                                       )
HARTFORD IRON & METAL, INC., et. al.,                   )   Underlying Litigation:
                    Defendants.                         )   Civil No: 1:14-cv-6-RLM-SLC
                                                        )   United States District Court
HARTFORD IRON & METAL, INC., et. al.,                   )   Northern District of Indiana
                        Third-Party Plaintiffs,         )
                     v.                                 )
CONTINENTAL INSURANCE COMPANY, et. al.,                 )
Third-Party Defendants.                                 )

                PLAINTIFF VALLEY FORGE INSURANCE COMPANY’S
                 MOTION TO COMPEL NON-PARTY KERAMIDA, INC.
                    TO COMPLY WITH DOCUMENT SUBPOENA

       Pursuant to Fed. R. Civ. P. 45, Plaintiff Valley Forge Insurance Company (“Valley

Forge”) hereby moves this Court for an order compelling Keramida, Inc. (“Keramida”) to

comply with a document subpoena that Valley Forge served on it in connection with the

captioned underlying litigation, which is pending in the United States District Court for the

Northern District of Indiana (Civil No: 1:14-cv-6-RLM-SLC). In support of its motion, Valley

Forge states as follows:

                                            I.
                                       BACKGROUND

       The underlying litigation involves disputes between Valley Forge Insurance Company

(“Valley Forge”) and Hartford Iron & Metal, Inc. (“Hartford Iron”) concerning their respective

rights and obligations in connection with the remediation of a contaminated site in Hartford City,

Indiana. On September 8, 2015 the United States District Court for the Northern District of

Indiana, Fort Wayne Division, entered an order in the underlying litigation setting October 22,
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2015 as a hearing date for Hartford Iron’s “Emergency Motion for Hearing for Declaratory

Judgment.” Doc. No. 194. The focus of this motion was whether Valley Forge was required to

fund the construction of a stormwater retention system that Keramida designed in the precise

manner that Hartford Iron and/or Keramida demanded. Doc. No. 191.

        In connection with both that hearing and the underlying litigation in general, Valley

Forge served Keramida with a document subpoena for materials related to the stormwater

retention basin. See Doc. No. 224-1. The subpoena was properly served on Keramida at its

Indianapolis office on October 13, 2015, with production to take place at the Indianapolis office

of Hunt Suedhoff Kalamaros LLP (less than 10 miles away). Id.

        On October 15, 2015 Hartford Iron’s attorney of record, Mark E. Shere, served objections

to the subpoena on Valley Forge, and produced an incomplete set of documents, purportedly in

response to the subpoena. Mr. Shere served these objections and documents as attorney for

Hartford Iron on behalf of Keramida.1 Ex. 1.

        A motion similar to this one was filed in the underlying action. Doc. No. 260. Neither

Hartford Iron nor Keramida responded to that motion. However, that motion was denied because

the Court concluded that had no authority to rule on it since compliance was required in a

separate district (i.e., this Court). Doc. No. 272.

        Keramida is not a party to the underlying litigation, and no attorney has ever filed an

appearance on its behalf in that suit. No one purporting to represent Keramida has responded to

the subpoena in any way. The documents that Hartford Iron produced in response to the


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  Valley Forge subsequently served a testimonial and document subpoena on Keramida, requiring it to appear at the
hearing on October 22, 2015 with the pertinent documents. See Doc. Nos. 225-1; 226-1. On October 22, the Court
denied the relief Hartford Iron sought in its motion leading to the emergency hearing, thereby rendering this
testimonial subpoena moot. See Doc. No. 244. However, Valley Forge’s original document subpoena, which is the
subject of this proceeding, remains pending.


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subpoena were incomplete. Neither Keramida nor Hartford Iron have provided any privilege log

for documents responsive to the subpoena that have been withheld, despite Hartford Iron’s

privilege claims.

                                            II.
                                EFFORTS TO RESOLVE DISPUTE

        Valley Forge was unsure of the identity of the attorney representing Keramida.

Accordingly, it copied the attorney whom Mr. Shere had indicated represented Keramida, Mr.

Dan Strahl, on two “meet-and-confer” emails that Valley Forge sent to Mr. Shere concerning the

subpoena on October 16 (5:51 AM EDT) and October 19 (11:47 AM EDT). See Exs. 2; 3.

Valley Forge received no response to these emails from Mr. Strahl, despite the fact that the

emails repeatedly raised the question of who was representing Keramida. Valley Forge also sent

a separate email to Mr. Shere on October 19, 2015 at 11:52 AM EDT, to the extent that the

objections that Valley Forge received on October 15 were made on Hartford Iron’s behalf only,

and not on behalf of Keramida. Ex. 4. Mr. Shere responded to this email (and the other October

19 email) by stating that Hartford Iron would evaluate Valley Forge’s objections and determine

if any additional response is necessary. Ex. 5. Mr. Shere did not indicate whether he represented

Keramida. Valley Forge received no further response from Hartford Iron, Mr. Shere, Keramida,

or Mr. Strahl. 2 Thus, Valley Forge brings this motion to compel Keramida to produce

documents responsive to the document subpoena at issue.




2
 Valley Forge subsequently filed a Motion to Compel Response to Document Production by Keramida in the
Northern District of Indiana on November 3, 2015, to which Hartford Iron did not respond. See Doc. No. 260. The
Court denied that motion on November 18, as the Southern District of Indiana is the proper venue for compliance
due to the required production at Hunt Suedhoff Kalamaros LLP’s Indianapolis office. See Doc. No. 272.


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                                            III.
                                         ARGUMENT

       Keramida has simply ignored the subpoena at issue. It has served no objections and has

filed no motion to quash.     Through this motion, Valley Forge requests an order directing

Keramida to respond in full pursuant to Fed. R. Civ. P. 45(d)(2)(b)(i), which provides, “At any

time, on notice to the commanded person, the serving party may move the court for the district

where compliance is required for an order compelling production or inspection.”

A.     KERAMIDA HAS WAIVED ANY AND ALL OBJECTIONS BY
       IGNORING A PROPERLY ISSSUED SUBPOENA AND SHOULD BE
       ORDERED TO COMPLY FORTHWITH

       A non-party who has been properly served with a subpoena under Fed. R. Civ. P. 45 must

appear and either serve timely objections to the subpoena, or file a timely motion to quash it. See

under Fed R. Civ. P. 45(d)(2)(B); 45(d)(3)(B). To be timely, objections must be filed within

fourteen days of service of the subpoena. Id. A non-party who fails to comply with these simple

requirements waives its objections to the subpoena. WM High Yield v. O’Hanlon, 460 F. Supp.

2d 891, 894 (S.D. Ind. 2006); Brogren v. Pohlad, 1994 U.S. Dist. LEXIS 16244, *1 (N.D. Ill.

Nov. 10, 1994).

       When objections are properly filed (and they were not in this case) “the burden of

persuasion in a motion to quash a subpoena ... is borne by the movant.” WM High Yield, 460 F.

Supp. 2d at 895. See also Pettit v. City of Columbus, 2005 U.S. Dist. LEXIS 48173, at *2 (S.D.

Ind. Sep. 9, 2005); Malibu Media, LLC v. Doe, 2012 U.S. Dist. LEXIS 170987, *5-6 (N.D. Ind.

Dec. 3, 2012). If the objection to the subpoena is based on privilege, the movant “has the burden

of demonstrating that the information sought is privileged.” Dean Foods Co. v. Pleasant View

Dairy Corp., 2011 U.S. Dist. LEXIS 1343, *6 (N.D. Ind. Jan. 5, 2011) (quoting McGrath v.

Everest Nat. Ins. Co., 2009 U.S. Dist. LEXIS 40513 (N.D. Ind. May 13, 2009)). See also Brake

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Plus LLC v. Kinetech LLC, 2015 U.S. Dist. LEXIS 17185, at *7 (S.D Ind. Feb. 11, 2015); Pain

Ctr. of SE Ind., LLC v. Origin Healthcare Solutions LLC, 2015 U.S. Dist. LEXIS 60461, at *5

(S.D. Ind. May 8, 2015). To meet this burden:

       A person withholding subpoenaed information under a claim that it is privileged
       or subject to protection as trial-preparation material must (i) expressly make the
       claim; and (ii) describe the nature of the withheld documents, communications, or
       tangible things in a manner that, without revealing information itself privileged or
       protected, will enable the parties to assess the claim.

Fed. R. Civ. P. 45(e)(2)(A).

       Thus, Keramida was required to assert privilege and to create and produce a privilege log

meeting the requirements of Fed. R. Civ. P. 26(b)(5). Having failed to do so, Keramida has

waived any objection that it might have raised to the subpoena. Teton Homes Eur. v. Forks RV,

2010 U.S. Dist. LEXIS 96109, *7-9 (N.D. Ind. Sept. 14, 2010); WM High Yield v. O’Hanlon,

460 F. Supp. 2d 891, 894 (S.D. Ind. 2006).

                                            IV.
                                        CONCLUSION

       In summary, Valley Forge’s properly served its subpoena on Keramida, and Keramida

failed to serve any objections or to support any privilege claims it might have with a privilege

log of any kind. Accordingly, Keramida has waived any objections that it might have had to

producing the materials responsive to the subpoena.

       WHEREFORE, Valley Forge Insurance Company respectfully requests that this Court

issue an order directing Keramida, Inc. to produce all documents responsive to the subpoena at

issue to Valley Forge, and providing Valley Forge with such other and further relief as this Court

deems just and equitable.




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Dated: November 24, 2015             Respectfully submitted,


                                     /s/ Jan M. Michaels__________
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on November 24, 2015, a true and correct copy of

Plaintiff Valley Forge Insurance Company’s Motion to Compel Non-Party Keramida, Inc. to

Comply with Document Subpoena was filed electronically. Notice of this filing will be sent to

the parties by operation of the Court’s electronic filing system. Parties may access this filing

through the Court’s system. Notice was sent to Keramida by certified U.S. Mail on November

24, 2015.



                                                   /s/Jan M. Michaels




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